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                       Exhibit 4
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                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF UTAH

BUREAU OF CONSUMER FINANCIAL
                                               Case No. 2:19-cv-00298-BSJ
PROTECTION,

      Plaintiff,
                    v.

PROGREXION MARKETING, INC., et al.,

      Defendants.




  PLAINTIFF’S SECOND SET OF EXPERT-RELATED REQUESTS FOR
             PRODUCTION TO PGX HOLDINGS, INC.
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      Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the

Amended Scheduling Order in this action (ECF 138), the Bureau of Consumer

Financial Protection (Bureau), by its undersigned attorneys, requests that

Defendant PGX Holdings, Inc., produce the documents including Electronically

Stored Information, in its possession, custody, or control, as specified below,

within 30 days of service, in accordance with Rule 34, the Agreed Specifications

for Production of Documents and Electronically Stored Information (ESI

Protocol), and the instructions below.

                                  DEFINITIONS

      The definitions below apply to each of the Instructions and Requests herein.

Notwithstanding any definition below, each word, term, or phrase used herein is

intended to have the broadest meaning permitted under the Federal Rules of Civil

Procedure.

A.    “And,” as well as “or,” shall be construed both conjunctively and

      disjunctively, as necessary, in order to bring within the scope of any request

      for production all information that otherwise might be construed to be

      outside the scope of the request.

B.    “Any” shall be construed to include the word “all,” and “all” shall be

      construed to include the word “any.”

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C.    “Bureau” means the Bureau of Consumer Financial Protection, a/k/a the

      Consumer Financial Protection Bureau.

D.    “Defendants” means Heath and the Progrexion Defendants.

E.    “Document” is synonymous in meaning and equal in scope to the usage of

      the terms “document” and “electronically stored information” in Rule 34(a)

      of the Federal Rules of Civil Procedure and includes, but is not limited to:

         a. The original or a true copy of any written, typed, printed,

            electronically stored, transcribed, taped, recorded, filmed, punched, or

            graphic matter or other data compilations of any kind, including, but

            not limited to, letters, email or other correspondence, messages,

            memoranda, paper, interoffice communications, notes, reports,

            summaries, manuals, magnetic tapes or discs, tabulations, books,

            records, checks, invoices, work papers, journals, ledgers, statements,

            returns, reports, schedules, files, charts, logs, electronic files, stored in

            any medium; and

         b. Any electronically created or stored information, including, but not

            limited to electronic mail, instant messaging, videoconferencing,

            SMS, MMS, or other text messaging, and other electronic

            correspondence (whether active, archived, unsent, or in a deleted

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            items folder), word processing files, spreadsheets, databases,

            unorganized data, document metadata, presentation files, and sound

            recordings, whether stored on any cell phones, smartphones, flash

            drives, personal digital assistants (PDAs), cards, desktop personal

            computer and workstations, laptops, notebooks and other portable

            computers, or other electronic storage media, backup disks and tapes,

            archive disks and tapes, and other forms of offline storage, whether

            assigned to individuals or in pools of computers available for shared

            use, or personally owned but used for work-related purposes, whether

            stored on-site with the computer used to generate them, stored offsite

            in another company facility, or stored, hosted, or otherwise

            maintained off-site by a third party, or in computers and related

            offline storage used by Defendants or Defendants’ participating

            associates, which may include persons who are not employees of the

            company or who do not work on company premises.

F.    “Each” shall be construed to include “every,” and “every” shall be construed

      to include “each.”




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G.    “Electronically Stored Information” or “ESI” shall be synonymous in

      meaning and equal in scope to the usage of the term in Rule 34(a) of the

      Federal Rules of Civil Procedure.

H.    “Expert Witness” means John Ulzheimer, John DelPonti, Jr., Stephen Craig

      Mott, Victor Stango, Thomas Maronick, Yoram (Jerry) Wind, and/or Arnold

      Barnett.

I.    “Expert Witness Assistant” means any staff member, employee, associate,

      contractor, assistant, company, firm, or collaborator that assisted John

      Ulzheimer, John DelPonti, Jr., Stephen Craig Mott, Victor Stango, Thomas

      Maronick, Yoram (Jerry) Wind, and/or Arnold Barnett, with their expert

      reports in the above-captioned litigation.

J.    “Heath” means John C. Heath, Attorney at Law, PC, f/k/a John C. Heath,

      Attorney at Law, PLLC, and all of its unincorporated divisions, joint

      ventures, and operations under assumed names, and all principals, directors,

      officers, owners, employees, agents, representatives, consultants, attorneys,

      accountants, independent contractors, and other persons working for or on

      behalf of the foregoing.




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K.    “Person” means an individual, partnership, company, corporation,

      association (incorporated or unincorporated), trust, estate, cooperative

      organization, or other entity.

L.    “Progrexion Defendants” means PGX Holdings, Inc., Progrexion Marketing,

      Inc., Progrexion Teleservices, Inc., CreditRepair.com, Inc., and eFolks,

      LLC.

M.    “Related to” means referring to, discussing, describing, reflecting,

      containing, analyzing, studying, reporting, commenting, evidencing,

      constituting, comprising, showing, setting forth, considering,

      recommending, concerning, or pertaining to, in whole or in part.

                                 INSTRUCTIONS

1.    If, in responding to these Requests for Production, you encounter any

      ambiguities when construing a Request or definition, the response shall set

      forth the matter deemed ambiguous and the construction used in responding.

2.    These Requests are continuing, up to and during the course of the trial. Your

      response to these Requests must be supplemented as you obtain or become

      aware of additional information affecting any of your responses.

3.    Responsive documents shall be produced in a format consistent with the ESI

      Protocol. Data extracted from existing data sets in response to any of the

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      below requests shall be produced in a CSV export file. Websites produced in

      response to any of the below requests shall include a site map and each page

      shall be produced as a consecutively bates-branded PNG or TIF image titled

      after the bates number followed by an underscore and the name of the page

      as listed in the sitemap (e.g., PREFIX00001_homepage).

4.    Whenever you are asked to produce a document that you wish to assert may

      be properly withheld from production for inspection or copying, with respect

      to each document:

         a. If you are withholding the document under a claim of privilege

            (including, but not limited to, the work product doctrine), provide the

            information set forth in Fed. R. Civ. P. 26(b)(5), including the type of

            document, the general subject matter of the document, the date of the

            document, and such other information as is sufficient to identify the

            document, including, where appropriate, the author, addressee,

            custodian, and any other recipient of the document, and where not

            apparent, the relationship of the author, addressee, custodian, and any

            other recipient to each other, in a manner that, without revealing the

            information claimed to be protected, will enable the Bureau to assess

            the applicability of the privilege or protection claimed by you;

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         b. If you are withholding the document for any reason other than a claim

            of privilege, an objection that it is beyond the scope of discovery, or

            that a Request is unduly burdensome, identify your objection as to

            each document and, in addition to the information requested in

            paragraph 3(a) above, state the reason for withholding the document.

5.    When a document contains both privileged and non-privileged material, the

      non-privileged material must be disclosed to the fullest extent possible

      without thereby disclosing the privileged material. If a privilege is asserted

      with regard to part of the material contained in a document, the party

      claiming the privilege must clearly indicate the portions as to which the

      privilege is claimed. When a document has been redacted or altered in any

      fashion, identify as to each document the reason for the redaction or

      alteration, the date of the redaction or alteration, and the person performing

      the redaction or alteration. Any redaction must be clearly visible (or audible

      in the case of an audio file) on the redacted document.

6.    The present tense shall be construed to include the past and future tenses and

      the past tense shall be construed to include the present and future tenses, in

      order to bring within the scope of any Request below all information that

      otherwise might be construed to be outside the scope of such Request.

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 7.    The singular of each word shall be construed to include its plural, and the

       plural of each word shall be construed to include its singular, and all forms

       thereof (e.g., participles and infinitives) shall be construed to include each

       other in order to bring within the scope of any Request below all information

       that otherwise might be construed to be outside the scope of such Request.

 8.    If there are no documents responsive to any Request or subparagraph of a

       Request, provide a written response so stating.

 9.    To the extent any document requested below has already been produced by

       the Progrexion Defendants, Heath, or one of Defendants’ experts to the

       Bureau in the course of the Bureau’s investigation or litigation of this matter,

       and it was produced in a format consistent with Rule 34 and either the

       Bureau’s Document Submission Standards or the ESI Protocol, it need not

       be produced again; however, in lieu of producing such documents you must

       supply the Bates range of such earlier production and a privilege log

       consistent with Instruction 4, above. The Bureau reserves the right to object

       to any withholding or redaction on the basis of privilege regardless of

       whether it objected at the time of the original production.

 10.   During the pendency of the Covid-19 pandemic, please produce the

       documents responsive to these Requests via the Bureau’s Extranet according

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       to the Bureau’s instructions. Otherwise, please produce the documents

       responsive to these Requests by FedEx, UPS, or hand delivery to the

       following address:

                                 CFPB C/O Tony Hardy
                                 18th Floor, 18028
                                 1919 North Lynn Street
                                 Arlington VA 22209
                                 (703) 236-3063

                        REQUESTS FOR PRODUCTION

 1.    Produce all information, data, or source material that the Defendants

       supplied or caused to be supplied to any Expert Witness or Expert Witness

       Assistant proffered in this Action on behalf of any Defendant.

 2.    All communications, including agreements and invoices, between

       Defendants and any Expert Witness or Expert Witness Assistant related to

       compensation for an Expert Witness’s work, report, or testimony in this

       litigation.

 3.    All communications and other Documents shared or exchanged between

       Defendants and any Expert Witness or Expert Witness Assistant that identify

       facts or data that Defendants provided and that the Expert Witness

       considered in forming the opinions expressed in this litigation.




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 4.    All communications and other Documents shared or exchanged between

       Defendants and any Expert Witness or Expert Witness Assistant that identify

       assumptions that the party’s attorney provided and that any Expert Witness

       relied on in forming the opinions expressed in this litigation.

 5.    All Documents, such as notes, outlines, task lists, analyses, indexes,

       summaries, and memoranda, created by or for any Expert Witness related to

       this litigation or the formation of his expert opinion, other than drafts of the

       Expert Witness’s expert report.

 6.    All exhibits, including demonstrative exhibits, that Defendants intend to use

       in connection with the presentation of any Expert Witness’s testimony in this

       litigation, including at any hearing or trial.

 7.    All Documents related to any Lift Survey conducted since January 1, 2016,

       including but not limited to the 2018 Lift Survey and the 2020 Lift Survey,

       including all raw data, survey instruments, tests, results, methodologies, and

       communications about the survey.

 8.    All communications with persons about any review, testimonial, blog,

       advertisement, social media post, web page, or other communication written,

       posted, disseminated, shared, or endorsed by that person.




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 9.    All Documents related to compensating any person for any review,

       testimonial, blog, advertisement, social media post, web page, or other

       communication written, posted, disseminated, shared, or endorsed by that

       person, including but not limited to all communications with such persons,

       the amount(s) of their compensation, and the content of the review,

       testimonial, blog, advertisement, social media post, web page, or other

       communication.

 10.   All Documents related to compensating any person to remove, delete, or

       alter any review, testimonial, blog, advertisement, social media post, web

       page, or other communication written, posted, disseminated, shared, or

       endorsed by that person, including but not limited to all communications

       with such persons, the amount(s) of their compensation, and the content of

       the review, testimonial, blog, advertisement, social media post, web page, or

       other communication.

 11.   All Documents describing any marketing programs or activities related to

       social media influencers, including those related to “influencer kits.”

 12.   All Documents describing any marketing programs or activities related to

       websites that review credit repair companies or credit repair services.




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 13.   All Documents describing any marketing programs or activities related to

       search engine optimization.

 14.   Documents sufficient to show a detailed breakdown of the Progrexion

       Defendants’ marketing expenses for the years 2016 – 2021 (to date),

       including line-items for each marketing program, activity, project, and area.

 15.   Documents sufficient to show a detailed breakdown of Heath’s marketing

       expenses for each of the years 2016 – 2021 (to date), including line-items for

       each marketing program, activity, project, and area.

 16.   Documents sufficient to show the amount any Defendant spent on any

       marketing programs or activities related to social media influencers for each

       of the years 2016 – 2021 (to date).

 17.   Documents sufficient to show the amount any Defendant spent on any

       marketing programs or activities, including but not limited to compensation

       for customer referrals or lead generation, related to websites that review

       credit repair companies or credit repair services for each of the years 2016 –

       2021 (to date).

 18.   Documents sufficient to show the amount any Defendant spent on any

       marketing programs or activities related to search engine optimization for

       each of the years 2016 – 2021 (to date).

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 19.   Documents sufficient to show the amount any Defendant spent on any

       marketing programs or activities related to customer testimonials or

       consumer reviews for each of the years 2016 – 2021 (to date).




 Dated: October 28, 2021
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                           CERTIFICATE OF SERVICE

      I hereby certify that on October 28, 2021, I served the foregoing document
 by email to the following counsel for Defendants:

       Kyle Tayman <KTayman@goodwinlaw.com>
       Thomas Hefferon <THefferon@goodwinlaw.com>
       William Harrington <WHarrington@goodwinlaw.com>
       Karra Porter <Karra.Porter@chrisjen.com>
       Courtney Hayden <CHayden@goodwinlaw.com>
       Christina Hennecken <CHennecken@goodwinlaw.com>
       Virginia Selden McCorkle <VMccorkle@goodwinlaw.com>

       Counsel for Defendants previously consented in writing to electronic
 service.




 Dated: October 28, 2021
                                             Maureen McOwen
                                             Attorney for Plaintiff Bureau of
                                             Consumer Financial Protection




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